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                                       IN THE UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF TEXAS
                                                SHERMAN DIVISION

             TALIA N. HARRISON,

                              Plaintiff,

                      vs.                                      Civil Action No. 4:21-cv-607-ALM

             TYLER TECHNOLOGIES, INC.,

                              Defendant.


                                               DECLARATION OF TALIA HARRISON

            I, Talia N. Harrison, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 as follows:

            1.       My name is Talia Harrison. I am over the age of 18, suffer from no disability or infirmity

                     which would prevent me from testifying, and I testify to the matters herein from my own

                     personal knowledge concerning the facts contained herein.

            2.       After being hired by ExecuTime in August 2013 as a Project Manager/Trainer, I was

                     promoted in approximately 2014 to the position of Manager of Implementation Services.

            3.       In 2016, exhausted by the excessive demands of that position, I requested to be demoted

                     into the position of Project Manager (PM), which had fewer responsibilities and less

                     authority, and required less travel.

            4.       When Tyler Technologies acquired ExecuTime, they split that role into Project Manager

                     and the new Implementation Consultant (IC) position.

            5.       When I was demoted, I was called a “Senior” PM, but it was never explained to me what

                     that designation meant and what differentiated an SPM from a PM.

            6.       As an SPM, I did the same job duties as other PM’s, however, I did typically handle far

                     more implementations that regular PM’s (and even the other SPM). This was not because
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                     of my SPM position, but because I had been working with ExecuTime software longer

                     than anyone else and was far more familiar with it and with the ExecuTime

                     implementation process.

            7.       Both ExecuTime and Tyler had very high turnover of PM’s (and later, IC’s). People

                     rotated in and out of these positions frequently and thus few if any ever became as

                     familiar with the software as I was.

            8.       During my time as an SPM, I reported directly to an Implementation Manager (IM). I

                     worked in Tyler’s offices, although my direct supervisor was remote. However, Other

                     managers were in the same office, including Jamie Burns. I was in contact with my IM on

                     a daily basis, typically several times every day, and was closely supervised by my IM at

                     all times.

            9.       As an SPM, I had a quota of billable hours I was required to meet. These hours were

                     billed to customers who had purchased a package of hours (referred to as a “budget”)

                     along with the ExecuTime software itself.

            10.      I understand that Tyler alleges that I was “in charge of preparing a high-level project

                     plan” as an SPM. In reality, what this means is that I used a template prepared by Tyler

                     that listed all the steps required in an implementation of ExecuTime software. I would

                     omit certain steps in the implementation that corresponded to functionalities that had not

                     been purchased by a given customer, and which were not required for the customer’s

                     existing payroll practices. For example, I would omit steps relating to comp. time if the

                     customer did not issue comp. time to its employees.
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            11.      I would also modify the project plan based on blackout dates provided by the customer

                     (e.g., dates when the customer’s IT people or HR director were on vacation and

                     unavailable to participate in the implementation).

            12.      I had absolutely no discretion about what went into a project plan. I would simply input

                     data gathered from the client on a questionnaire that the sales team had the customer fill

                     out before I became involved, the Excel Workbook we used would then generate the

                     plan, and I modified dates as the customer required.

            13.      I understand that Tyler alleges that I would “conduct[] initial post-contract meetings with

                     the client. What would happen in these meetings is that I would reiterate how the

                     implementation process worked so that the customer could plan accordingly (e.g., make

                     sure that necessary employees were available for training at specific times in the

                     implementation). My role was simply to convey information to the client in these

                     meetings and I had no discretion how the implementation process would proceed.

            14.      I understand that Tyler alleges that I would “set[] up a project schedule.” What this

                     means is that I would use our Excel Workbook to automatically generate a schedule

                     based on a “kick-off date” chosen by Tyler management in consultation with the

                     customer. I would simply input the kick-off date into the project plan and had no

                     discretion or made any sort of significant decision in connection with the schedule

                     beyond making minor adjustments to dates based my pre-existing schedule and that of

                     the IC assigned to me.

            15.      I understand that Tyler alleges that, after the project plan was created, “the day-to-day

                     responsibility for the implementation shifts from the project manager to the

                     implementation consultant.” This was not always the case. I frequently performed the
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                     role of IC and there would be no such handoff to an IC. Off the top of my head, I can

                     recall projects in Seattle, Oak Harbor, American Samoa, Grand Fork, Bozeman, and

                     Baton Rouge where I worked on the implementation alone, without an IC.1

            16.      I understand that Tyler alleges that “[m]loving a go live date typically would result in a

                     delay of transitioning to the ExecuTime software of three to six months.” This is not true.

                     Typically, if a go-live date had to be moved, it would delay the implementation by only

                     one or two pay periods. The exact length of time depended on the length of the client’s

                     pay period, but the delay would rarely if ever be more than one month.

            17.      I understand that Tyler frequently refers to my responsibilities with respect to a project

                     “budget.” What this term means, in reality, is that I had to keep track of how many hours

                     had been used up on a project versus how many hours the customer had purchased for the

                     implementation. Managing the budget just meant that I had to be efficient with my

                     billable time. If the time spent by myself or the IC assigned to me was more than

                     anticipated by Tyler during the contract negotiation stage, I was required to inform my

                     IM about the excessive hours.

            18.      I understand that Tyler frequently refers to my responsibilities with respect to

                     “scheduling resources” and “setting deadlines.” “Resources” refers to the IC assigned to

                     me, as well as the tech and development teams. If a customer needed assistance from the

                     IC or those other teams, I would schedule that assistance in Outlook based on the

                     published availability of the IC or other team members. Then, if the client or other teams



            1
             On the Baton Rouge implementation, an IC and a customer support rep. did accompany me to
            an in-person customer training session because of the large number of employees that needed to
            be trained. There was simply too many for me to train on my own. I did not supervise them,
            however. Rather, they would simply run parts of the trainings instead of me because it would
            have been too much work for one person to speak non-stop all day long.
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                     had a problem with the scheduling, they would tell me and I would move the date as

                     needed. If there was a conflict, I would send it to my IM for resolution. I did not resolve

                     such conflicts myself. Deadlines (a/k/a “milestones”) were set out in the initial project

                     plan, and I could not independently change them. And in some cases, rather than

                     scheduling in Outlook, I would enter a JIRA ticket that was placed in a queue for the

                     members of the tech/development teams to pull from and work on according to their own

                     criteria.

            19.      I understand that Tyler refers to my responsibilities with respect to “assigning

                     responsibilities.” This is specific to tasks that were handled by other teams. For example,

                     if a customer needed help with overtime not being calculated correctly, then that had to

                     be addressed by the technical team. I had no discretion about who to assign

                     responsibilities to, and it was always obvious who the appropriate person or team was to

                     handle it.

            20.      I understand that Tyler alleges that I would “adjust the timeline to reflect the

                     implementation resources available to [me]—e.g., if [I] assessed an implementation

                     consultant would not be capable of completing certain tasks, [that I] would assign

                     [my]self those tasks.” That is incorrect. My IM would make that decision. I did give

                     feedback to my IM if she asked me about an IC’s capabilities. I can recall one instance in

                     which that happened: at the beginning of on IC’s employment before he had learned all

                     functionalities of the software. It was by no means a regular occurrence.

            21.      I understand that Tyler alleges that I “might adjust the timeline to include ‘buffer room’

                     for additional training if [I] believed the implementation was particularly complex.” This

                     is false. If a customer had an unusually large number of employees to be trained—more
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                     than typical and more than Tyler’s generic timeline anticipated—then I would tell my IM

                     and my IM would make a decision about how to handle it, possibly deciding to add such

                     “buffer room.”

            22.      I understand that Tyler alleges that I could adjust the go-live date in an implementation

                     timeline after advising [my] supervisor that the date . . . needed to be changed.” This is

                     false. The customer decided if the go-live date needed to be changed, not me. If the

                     customer wanted to move the date, I would inform my IM of the request.

            23.      I understand that Tyler alleges that I “worked with other implementation consultants in

                     addition to [my] assigned implementation consultant.” This allegation is highly

                     misleading. I was assigned a single implementation consultant at a time. However, given

                     that I had far more experience and competence with ExecuTime software than other IC’s

                     and PM’s, other PM’s and IC’s frequently came to me for help with how the software

                     worked. However, I did not work on their projects with them or assign them work. I

                     would often spend half my day assisting other ExecuTime team members with various

                     questions, unable to even bill my time spent because I was not assigned to their projects.

            24.      This enormous drain on my time—explaining things and fixing problems for other

                     ExecuTime team members—was a major reason why I ultimately requested to move into

                     the Implementation Analyst position, where I would no longer be responsible for entire

                     implementations and would instead spend all my time assisting others with the software.

            25.      I understand that Tyler alleges that “[w]hither an item would be billable or not would be

                     determined on a case-by-case basis based on discussions between Plaintiff and her

                     supervisor.” This statement is misleading. The IM would approach me about any billed

                     items that were questionable, I would provide requested information to my IM, and the
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                     IM would determine whether the time was billable or not, perhaps based on discussion

                     with me, perhaps not.

            26.      Like all other employees who track billable time, I of course had to make initial

                     determinations whether to enter my time or not for a certain task, but the vast majority of

                     the time it was entirely clear based on long-established practices. My billed hours were

                     always reviewed at a higher level and I had no say in the determination whether recorded

                     time would be written off or not.

            27.      I understand that Tyler alleges that prior to customer training sessions, “[I] prepared a

                     custom document for the client that reflected the client’s custom configuration that the

                     client could reference after go-live.” In reality, this entailed merely arranging the relevant

                     parts of a pre-existing template provided by Tyler. The relevance of specific parts of the

                     template was determined solely by what software functionalities the customer had

                     purchased. I had no discretion in deciding what to include and what to omit.

            28.      I understand that Tyler alleges that I would have calls client calls to discuss[] client

                     concerns and made recommendations to the client about how they should configure

                     ExecuTime.” In reality, what I did was explain how the functionalities present in

                     ExecuTime could be used to reflect the customer’s existing payroll practices. If a

                     customer had no need for a functionality (e.g., comp. time), then I would show them how

                     they could eliminate that functionality from the menu display. I did not advise the client

                     whether they should do that or not.

            29.      In my résumé, I used a great deal of language that was inapplicable to the positions of

                     SPM and Implementation Analyst (IA). I do not believe that it is really accurate to state

                     that I “managed, monitored, and motivated a ‘cross-functional team’ in the positions I
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                     held while employed by Tyler. I did do that in my former position as Manager of

                     Implementation Services prior to Tyler’s acquisition of ExecuTime. My résumé conflates

                     many different positions I held at both ExecuTime and Tyler over more than 8 years. I

                     listed only the job title “Senior Project Manager”—not even my final position—in my

                     résumé because it sounded most impressive. Unlike for most employees, I had more

                     responsibilities and authority early in my employment than later due to my above-

                     mentioned self-demotion.

            30.      As SPM, I did certainly interact with the same “cross-functional team,” including the

                     implementation consultant, software deployment team, and technical configuration team,

                     but it is not accurate to state that I “managed” them in my position as SPM. I had no

                     authority over members of other teams whatsoever. My authority with respect to my

                     assigned IC was limited to simply assigning implementations given his or her existing

                     workload. And of course even that could be and was reviewed by my IM.

            31.      I understand that Tyler alleges that I “made recommendations regarding security profiles

                     for users or building different configurations for groups of employees based on their

                     practices.” What this means is that I explained to the client that it would be more efficient

                     and user-friendly to set up ExecuTime’s security functions by groups of employees rather

                     than having each employee have their own customized security profile. So, typically, the

                     customer would create lists of different employee groups based on the functionalities they

                     wanted those groups of employees to have access to. I did not advise the customers on

                     how they should organize those groups. I simply explained to the customers how they

                     could create security profiles in the ExecuTime software matching the levels of access

                     they wanted to assign each group.
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            32.      I understand that Tyler alleges that I was responsible for “ensuring the team was in sync;

                     ensuring support tickets were resolved in a timely manner; and promoting a healthy team

                     morale. This is true. It is also equally true for every other ExecuTime team member.

            33.      Both in my position of SPM and IA, I was responsible for training customers, other

                     PM’s, and IC’s. This training could be both formal or informal. As described above,

                     much of my day was spent on non-billable work “training” other ExecuTime employees

                     on how to use the software. This was a constant need because of the high turnover rate at

                     ExecuTime and because, as the team member with the longest ExecuTime experience, I

                     had a more accurate and deeper understanding of how the software worked.

            34.      Training—whether for a Tyler employee or for a customer—always entailed conveying

                     factual information about how the ExecuTime software operated. In other words, I taught

                     them how to use it.

            35.      I understand that Tyler alleges that I “created knowledge transfer materials” including

                     knowledge-based standard (KBS) articles for other implementation consultants or project

                     managers to consult when they encountered an issue with an implementation. This is true.

                     It is also true of approximately 30 other Tyler employees, including IC’s and customer

                     support personnel. These KBS articles simply described in detail how to correctly fix

                     known problems.

            36.      I did not make recommendations about how customers should organize their own payroll

                     structure. I taught them how the settings in ExecuTime could be used to match their

                     needs, whether it was turning on or off the comp. time function, setting pay periods to

                     weekly, bi-weekly, or semi-monthly, or any other ExecuTime function that was available

                     and applicable to their payroll structure.
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            37.      Tyler points to an email exchange I had with Jamie Burns regarding a talk I had with an

                     IC who was assigned to me regarding negative client feedback he had received. The

                     subject matter and content of this discussion was based on previous conversations I had

                     with my own superiors and their recommendations for what to say to him. Obviously, the

                     exact words and style I used for this sensitive conversation were up to me, but the

                     substance was determined by my supervisors. I did not typically provide my IC with my

                     own evaluation of their performance; rather, I conveyed information and made

                     recommendations, the substance of which had already been provided or approved by my

                     supervisors.

            38.      I did occasionally participate in interviewing potential new hires. These interviews were

                     invariably group interviews and Tyler would solicit impressions from all team members

                     who were present for the interviews. I did not lead the interviews and my participation in

                     the interviews and feedback provided was no greater than that of any other team members

                     below the level of IM.

            39.      Over the years, I put several interested friends and acquaintances in contact with

                     management when IC positions became available. This was not a part of my job duties at

                     Tyler.

            40.      In October 2019 I requested to be put into the newly-created position of Implementation

                     Analyst and started in that role the following month. That position consisted of training

                     both customers and Tyler employees in how to use the ExecuTime software, both

                     formally and informally. This is the exact same work that I had been spending half my

                     days on already, without being able to bill for it.
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            41.      As an IA, I was no longer responsible for my own implementations or for working with

                     an assigned IC.

            42.      I requested the change in position because of the unbearably long hours I had been

                     working as SPM, to have less travel, and to move to a different manager.

            43.      I understand that Tyler claims that I conducted training at “a three-day project

                     management summit in Texas.” This statement is misleading. I did not do three days of

                     presentations. I did four identical 30-minute presentations explaining what the new role

                     of Implementation Analyst was and how they could come to me for help. I did not even

                     draft the text of the presentation. It was provided to me by Tyler.

            44.      I understand that Tyler also claims that I “conducted trainings in Maine on ExecuTime

                     for newly hired project managers and implementation consultants.” I did such training on

                     two occasions, once in Maine and once over the phone. The training was basically a

                     souped-up version of the basic functionality training that I or an IC would do with clients

                     in a normal training session. In other words, I just showed them how the ExecuTime

                     software worked. And the script for the training session was provided to me by Tyler. I

                     did not write it myself.

            45.      As an SPM, I did not “manage” any Tyler employees as I understand that word to be

                     generally used. The only minor supervision I did of the IC’s assigned to me was to

                     delegate implementations to them based on their existing workload. I only ever did this

                     with a single IC at a time. I was never assigned to work with more than one IC at a time.

            46.      As an SPM, I did not have management or supervisor duties relating to any customarily

                     recognized department or subdivision of Tyler Technologies. I worked with other team
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                     members of the ExecuTime Division, but had no supervisory duties except the limited

                     duties described above with respect to a single IC at a time.

            47.      As an SPM, I did not have the authority to hire or fire other employees. I gave feedback

                     following group interviews on occasion, but my participation in those group interviews

                     was no different than any of the other Tyler employees below the level of IM who

                     participated. I was never informed that my feedback was given special weight and have

                     no reason to believe that was the case. Those group interviews and feedback were

                     occasional and cannot be fairly described as my primary duty.

            48.      As an SPM, I did not have the authority to set or adjust other employees’ rates of pay or

                     hours of work.

            49.      As an SPM, I did not direct the work of other employees beyond delegating

                     implementations to my assigned IC as described above.

            50.      As an SPM, I did not maintain production or sales records for use in supervision or

                     control.

            51.      As an SPM, I did not appraise employees' productivity and efficiency for the purpose of

                     recommending promotions or other changes in status.

            52.      As an SPM, I did not handle employee complaints and grievances.

            53.      As an SPM, I did not discipline employees.

            54.      As an SPM, I did not plan the work, determine the techniques to be used, or apportion the

                     work among employees beyond delegating implementations to my assigned IC as

                     described above.

            55.      As an SPM, I did not determine the type of materials, supplies, machinery, equipment or

                     tools to be used or merchandise to be bought, stocked and sold.
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            56.      As an SPM, I did not control the flow and distribution of materials or merchandise and

                     supplies.

            57.      As an SPM, I did not provide for the safety and security of employees or property.

            58.      As an SPM, I did not plan or control a budget.

            59.      As an SPM, I did not monitor or implement legal compliance measures.

            60.      Both as an SPM and as an IA, I did not have authority to formulate, affect, interpret, or

                     implement management policies or operating practices.

            61.      Both as an SPM and as an IA, I did not carry out major assignments in conducting the

                     operations of Tyler’s business.

            62.      Both as an SPM and as an IA, I did not perform work that affected Tyler’s business

                     operations to a substantial degree more than any employee whose work must be

                     performed correctly and on time. I had absolutely no role or input into the structure of

                     Tyler’s business or of its customers’ operations.

            63.      Both as an SPM and as an IA, I did not have authority to commit Tyler in matters that

                     have significant financial impact.

            64.      Both as an SPM and as an IA, I did not have authority to waive or deviate from

                     established policies and procedures without prior approval.

            65.      Both as an SPM and as an IA, I did not have authority to negotiate or bind Tyler on

                     significant matters.

            66.      Both as an SPM and as an IA, I did not provide consultation or expert advice to

                     management.

            67.      Both as an SPM and as an IA, I was not involved in planning Tyler’s long- or short-term

                     business objectives.
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            68.      Both as an SPM and as an IA, I did not investigate or resolves matters of significance on

                     behalf of management.

            69.      Both as an SPM and as an IA, I did not represent Tyler in handling complaints,

                     arbitrating disputes or resolving grievances.

            70.      In both my SPM and IA positions, my primary duty was the same: to show people (both

                     customers and other Tyler employees) how to correctly operate the ExecuTime software.

            71.      My work as an IA was almost entirely work that I had already been performing as a SPM,

                     simply with fewer responsibilities.

            72.      There were virtually no differences between the actual job duties of an Implementation

                     Consultant like Suzi Greene and those of a Senior Project Manager like me except for:

                     (1) I delegated work to my IC’s based on their workload, and (2) I conveyed messages to

                     my IC’s from management. Beyond that, our jobs were identical: we taught people how

                     to use ExecuTime software. I was very good at my job and lots of people in the company

                     asked me for help when they ran into problems.

            73.      As an IA, there was even less difference between me and an IC than when I was a SPM. I

                     did exactly what an IC did except that I wasn’t assigned to specific implementations. I

                     was a resource for everyone in the ExecuTime division to rely on because I understood

                     how the software worked better than almost anyone else outside upper management. I

                     taught them how to use it correctly. And I also continued to do customer training as

                     needed. Tyler had massive turnover and few people could stand working for Tyler for

                     very long, so there were always people who needed my assistance.
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            74.      I am currently employed as a Project Manager and classified as FLSA overtime exempt.2

                     In this position I have many duties that I did not have as a SPM for Tyler, including

                     approving and rejecting employee timesheets, reviewing and editing invoices before they

                     are sent out to clients, writing change orders and estimating additional time needed to

                     complete implementations, and hand-picking my preferred resources to work with on

                     each implementation, among other more administratively significant duties.

            I declare under penalty of perjury that the foregoing is true and correct.


                      9/7/2022
            Dated: ___________________


            _________________________
            Talia Harrison




            2
             At the time of my deposition, I was an Associate Project Manager, but the responsibilities have
            not changed since I became a Project Manager.
